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AO 442 (Rev, 01/09) Arrest Warrant

UNITED STATES DISTRICT COURT
for the
District of Columbia

United States of America

v. ) Case No. 23-cr-176

 

) Assigned To: Judge Jia M. Cobb
CHRISTO M . .
NISTOPHER MITCHELL Date Assigned: 5/18/2023
aE ) Description: INDICTMENT (B)

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) CHRISTOPHER MITCHELL ,
who is accused of an offense or violation based on the following document filed with the court:

@ Indictment  Superseding Indictment © Information © Superseding Information © Complaint
© Probation Violation Petition © Supervised Release Violation Petition O Violation Notice O Order of the Court

‘ This offense is briefly described as follows:

:, 18 U.S.C, § 922(g)(1) - Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a Crime Punishable
~ of Imprisonment for a Term Exceeding One Year; 21 U.S.C. § 841(a)(1) and § 841(b)(1)(C) - Unlawful Possession with
Intent to Distribute a Mixture or Substance Containing a Detectable Amount of Amphetamine; 21 U.S.C. § 841(a)(1) and §
-841(b)(1})(D) - Unlawful Possession with Intent to Distribute a Mixture or Substance Containing a Detectable Amount of
Marijuana; 21 U.S.C. § 860(a) - Unlawful Possession with Intent to Distribute Amphetmaine Within a 1000 Feet of a
School; 21 U.S.C. § 860(a) - Unlawful Possession with Intent to Distribute Marijuana Within a 1000 Feet of a School;18
U.S.C, § 924(c)(1)(A)(i) - Using, Carrying and Possessing a Firearm During a Drug Trafficking

Zia M. Faruqui
2023.05.18 16:32:42 -04'00"

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At

 

Date: 05/18/2023

Issuing officer's signature

City and state: _ Washington, DC Zia M. Faruqul, U.S. Magistrate Judge
Printed name and title

 

Return

 

This warrant was received on (daey OS/IG [ als , and the person was arrested on (datey OS HIG /23

at (cityand state) /aGl tig wn YO C. HRS 2 St A,

Date: OS | (4) aS

  
  

 
 

 

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/ Printed name and title

 

 

 
